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                                      CERTIFICATE OF SERVICE
        I, Karl Hill, hereby certify that on December 21, 2022, I caused a copy of the foregoing

 Reply Brief of the Liberty Insurers and the Allianz Insurers, to be served on all registered users of

 the Court’s Case Management/Electronic Case File (“CM/ECF”) in this case via CM/ECF.



     Dated: December 21, 2022                  SEITZ, VAN OGTROP & GREEN, P.A

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